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                       UNITED STATES DISTRICT COURT
                                            for the
                                  Western District of Kentucky
                                      Louisville Division

Christopher E. Druckenmiller                           )
       Plaintiff                                       )
                                                       )
v.                                                     )       Case No. 3:17-cv-00006-DJH
                                                       )
RentDebt Automated Collections, LLC et al.             )
     Defendants                                        )
                                                       )

                                  NOTICE OF SETTLEMENT

       Please take notice that Plaintiff, Christopher E. Druckenmiller, has reached a settlement

with defendant First Associates Loan Servicing, LLC. Once the settlement is final, the parties

will file a joint dismissal with prejudice. This notice is not intended to affect, and does not affect,

Plaintiff’s claims against any other Defendant in this action.


                                       Respectfully submitted,

                                       /s/ James H. Lawson
                                       James H. Lawson
                                       Lawson at Law, PLLC
                                       115 S. Sherrin Avenue, Suite 4
                                       Louisville, KY 40207
                                       Tel: (502) 473-6525
                                       Fax: (502) 473-6561
                                       E-mail: james@kyconsumerlaw.com
                                       Counsel for Plaintiff
                                       Christopher E. Druckenmiller
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                                CERTIFICATE OF SERVICE

       This is to certify that I filed the foregoing via the Court’s CM/ECF system on this 8th day
of March, 2017, which will send a Notice of Electronic Filing to all counsel of record.


                                      /s/ James H. Lawson
                                      Counsel for Plaintiff
                                      Christopher E. Druckenmiller




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